      Case: 23-3166   Document: 35    Page: 1   Date Filed: 12/12/2023




                              No. 23-3166

  IN THE UNITED STATES COURT OF APPEALS FOR THE
                  THIRD CIRCUIT

     PENNSYLVANIA CONFERENCE OF THE NAACP, et al.,

                                     v.

         SECRETARY OF THE COMMONWEALTH, et al.,

          REPUBLICAN NATIONAL COMMITTEE, et al.,

                                                    Appellants

  On Appeal from the United States District Court for the Western
        District of Pennsylvania, Case No. 1:22-cv-00339

Secretary of the Commonwealth’s Combined Response to the Motion to
                   Intervene and Motion for a Stay

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       Case: 23-3166   Document: 35   Page: 2   Date Filed: 12/12/2023




                           INTRODUCTION

     Richard Marino’s motion to intervene and the RNC’s motion for a

stay both rest on the mistaken premise that this appeal could affect the

outcome of the 2023 race for Towamencin Township Supervisor. The

Montgomery County Board of Elections has certified the result of that

election. Certification extinguished Marino’s interest in this case and the

RNC’s interests in a stay, just as certification of a 2021 Lehigh County

race for judge extinguished the losing candidate’s interest in appealing

this Court’s decision in Migliori v. Lehigh County Board of Elections that

certain ballots should be counted in that race. See Ritter v. Migliori, 143

S. Ct. 297 (2022) (vacating Migliori as moot after election was certified).

     Marino’s and the RNC’s motions not only ignore that effect of

certification on their respective interests here, but they also seek relief

from the wrong decision. Their complaint was with Montgomery County,

which elected to count ballots with irrelevant errors in a handwritten

date for the 2023 election. Multiple counties not subject to the declaratory

judgment in this case made the same decision. See Ex. 1, Ramachandran

Decl. ¶ 8. All those counties were free to follow the reasoning of the

district court’s decision because, contrary to the RNC’s claims, see RNC
        Case: 23-3166   Document: 35   Page: 3       Date Filed: 12/12/2023




Stay Mot. at 1 (Doc. # 9), the Pennsylvania Supreme Court explicitly

disclaimed deciding the federal issue presented in this case. See Ball v.

Chapman, 289 A.3d 1, 28 (Pa. 2023). Nothing this Court can do in this

appeal could compel Montgomery County to reverse course.

      Marino and the RNC had ample opportunity to challenge

Montgomery County’s decision. But for nine days after the county

announced it would count these ballots, Marino did nothing. He chose to

forgo multiple methods of state court review and did not seek to delay

certification.   Marino’s   inaction   is       inexcusable   and,    under   the

circumstances, makes his motion to intervene untimely.

      The motions have additional flaws beyond their pursuit of

unobtainable relief.

      As to intervention, Marino’s interests are adequately represented

by the RNC, which intervened in the district court to protect Republican

candidates’ electoral success, ECF No. 30 at 12 (RNC brief in support of

intervention), and with which Marino shares counsel.

      As to a stay, the RNC is unlikely to prevail on the merits. This Court

already persuasively resolved the central issue here contrary to the

RNC’s position. See Migliori, 36 F.4th 153, vacated as moot by Ritter v.


                                            2
       Case: 23-3166   Document: 35   Page: 4   Date Filed: 12/12/2023




Migliori, 143 S. Ct. 297 (2022). The RNC contorts itself to avoid Migliori

and the plain meaning of 52 U.S.C. § 10101(a)(2)(B), but the district

court’s resolution of this matters follows from a straightforward

application of that statute. Further, the RNC invents a parade of

horribles it claims will result if counties are not compelled to disregard

the votes of legal, registered voters who make an inconsequential error

in filling out their ballot return envelope,1 but greatly exaggerates the

consequences of interpreting the law based on what it says.

     For these reasons, this Court should deny both motions and then

consider the issue in this case on fully developed briefing and arguments.

                              ARGUMENT

I.   Intervention Should Be Denied.

     A party seeking to intervene as of right must file a timely motion

and show that it has “an interest relating to the property or transaction

that is the subject of the action, and is so situated that disposing of the

action may as a practical matter impair or impede the movant’s ability to



     1 As has consistently been the case, the voters who made a date

error in Towamencin were disproportionately older. The voters who
submitted those ballots were ages 83, 78, 77, 74, 29, and 25. See Ex. 1,
Ramachandran Decl. ¶ 3.
                                        3
          Case: 23-3166   Document: 35   Page: 5   Date Filed: 12/12/2023




protect its interest, unless existing parties adequately represent that

interest.” Fed. R. Civ. P.24(a)(2); see also Cameron v. EMW Women’s

Surgical Ctr., P.S.C., 595 U.S. 267, 277 (2022) (explaining that

intervention on appeal is determined by “the policies underlying

intervention in the district courts” (cleaned up)).

     Marino’s motion fails at each step.

     A.      Marino’s Motion Was Untimely.

     Because Marino waited until after the district court entered final

judgment before attempting to intervene, he must show “extraordinary

circumstances” justify intervention. In re Fine Paper Antitrust Litig., 695

F.2d 494, 500 (3d Cir. 1982). Yet, Marino has failed to demonstrate what

extraordinary circumstance warrants his untimely intervention, has

failed to explain why he inexcusably delayed, and has failed to explain

why he did not protect his interests through avenues available in state

court.2

     On November 21, the district court issued its declaratory judgment

that 52 U.S.C. § 10101(a)(2)(B) prohibits cancelling ballots merely




     2 Permissive intervention fails as well. See Fed. R. Civ. P. 24(b)

(requiring a “timely motion”).
                                           4
       Case: 23-3166    Document: 35   Page: 6   Date Filed: 12/12/2023




because a voter neglected to properly write a meaningless date on their

return-envelope declaration. ECF No. 348.

     The next day, Montgomery County, which had not yet certified its

2023 election results, announced it would count mail ballots “that have

missing or incorrectly dated envelopes.” Montgomery County Press

Release   (Nov.   22,     2023),   https://www.montgomerycountypa.gov/

CivicAlerts.aspx?AID=4252.

     Anyone “aggrieved” by Montgomery County’s decision had two days

to appeal. See 25 P.S. § 3157(a). Marino did not do so. Nor did any party

in this litigation seek any relief in district court after Montgomery

County announced its decision.

     Also on November 22, the district court issued an order informing

the parties—including those sharing Marino’s counsel—that “if no

further motions are filed by November 28, 2023, a Rule 58 judgment will

be entered.” Docket Order (Nov. 22, 2023). Again, neither Marino nor the

RNC took any action in response.

     On November 27, Montgomery County canvassed 349 ballots

returned without a properly dated envelope declaration, including six

ballots submitted in Towamencin Township. With all ballots counted, the


                                         5
        Case: 23-3166   Document: 35   Page: 7   Date Filed: 12/12/2023




race for Supervisor was tied. Marino Mot. ADD., Marino Decl. ¶ 10 (Doc.

# 8). Still, no one did anything in state court, including pursuing a

recount under 25 P.S. §§ 3261 and 3263, or in the district court.

     The county publicly announced on November 29 that it would

certify its results on December 4. Montgomery County Press Release

(Nov. 29, 2023), https://www.montgomerycountypa.gov/CivicAlerts.aspx?

AID=4263. Also on November 29, the district court entered the final

judgment it had said was forthcoming. ECF No. 350. Again, no party

sought relief in state court or this court.

     A tiebreaker was held on November 30 and Marino lost. Marino

Mot. ADD., Marino Decl. ¶¶ 11-12.

     On December 1, Marino finally moved to intervene and the RNC

moved to stay the district court’s order. See ECF No. 354 (stay); ECF No.

355 (intervene). Marino claimed “[t]ime is of the essence,” ECF No. 355

at 2 (motion to intervene), but was silent as to why he had not acted

accordingly in the preceding days. Nor did Marino attempt to forestall

certification. In fact, Marino failed to mention that certification would

occur on December 4 and instead asked for a resolution of his motion by

December 8. Id.


                                         6
       Case: 23-3166   Document: 35   Page: 8   Date Filed: 12/12/2023




     Marino defends his lack of diligence by ascribing his interest in this

case to the judgment entered on November 29, Marino Mot. at 9, but his

own declaration avers that his purported interests derive from the

district court’s November 21 order and Montgomery County’s November

22 decision to count six ballots, Marino Mot. ADD., Marino Decl. ¶¶ 8-13.

The ballots were counted and the race declared tied before judgment was

entered.

     The only challenge to Marino’s loss brought under the Election

Code was an election “contest” filed on December 4. Petition, In re:

Contest of Nov. 7, 2023 Election, No. 23-26306 (Mont. Cnty. C.C.P. Dec.

4, 2023).3 The contest was filed seven days after the statutory deadline,

see 25 P.S. § 3456, and already has been dismissed, with the common

pleas court citing the “reasoning” of the district court’s order. See Order,




     3 Election contests differ from challenges to the decisions of county

boards (under 25 P.S. § 3157(a)) or recount requests (under 25 P.S.
§§ 3261 and 3263), as they require the party contesting the election to
meet the high threshold of showing that the election was “illegal.” 25 P.S.
§ 3456.
                                        7
        Case: 23-3166   Document: 35   Page: 9   Date Filed: 12/12/2023




In re: Contest of Nov. 7, 2023 Election, No. 23-26306 (Mont. Cnty. C.C.P.

Dec. 7, 2023).4

     B.    Marino has not Established an Interest that Will Be
           Impaired by this Case.

     As announced on November 29, supra at 6, Montgomery County

certified its races on December 4. When it did, Marino formally lost his

election. As a result, Marino cannot “demonstrate that there is a tangible

threat to a legally cognizable interest” as is required under Rule 24.

Harris v. Pernsley, 820 F.2d 592, 601 (3d Cir. 1987).5

     Given the chronology of events, this case’s posture, and the issues

in this case, nothing will change the outcome of Marino’s election. Neither

staying the district court’s declaratory judgment—or even reversing it—

will force Montgomery County to act. Indeed, without a specific court

order responding to a request to amend certification, there is no

mechanism for a county board to recertify a race it already has certified.



     4 State courts are not bound by the decisions of lower federal courts

on federal law. See Hall v. Pennsylvania Bd. of Prob. & Parole, 851 A.2d
859, 865 (Pa. 2004).
     5 Like his delay, Marino’s lack of any interest in this case is fatal to

his argument for permissive intervention, because he lacks “a claim or
defense that shares with the main action a common question of law or
fact.” Fed. R. Civ. P. 24(b)(1)(B).
                                         8
       Case: 23-3166   Document: 35   Page: 10   Date Filed: 12/12/2023




     Marino has no more interest in this case than the candidate who

lost a 2021 judicial race in Lehigh County had in appealing this Court’s

decision in Migliori after his loss was certified. Indeed, the candidate

petitioning for review of Migliori argued the case had become moot

because “certification marks the end of the parties’ controversy.” See Pet.

for Writ of Certiorari at 13, Ritter v. Migliori, No. 22-30 (U.S. July 7,

2022). The U.S. Supreme Court agreed, and vacated Migliori because the

appeal was moot. See Ritter, 143 S. Ct. 297.

     Marino simply ignores that, under these circumstances, final

certification is fatal to his request to intervene, and he never explains

how he would convert any order in this case into a reversal of his election

defeat. He claims that a stay would allow him “to seek redress from that

impairment [i.e., the election result],” Marino Mot. at 14-15, but does not

elaborate on what “redress” he will seek or where. Indeed, there is

nothing left for him to do because he 1) failed to challenge Montgomery

County’s decision to count the six ballots; 2) never pursued a recount; and

3) never asked to delay certification of his race.

     The claim that a stay here will “ensure that Mr. Marino is timely

certified as the winner,” id. at 2, is simply wishful.


                                        9
       Case: 23-3166   Document: 35    Page: 11    Date Filed: 12/12/2023




     C.    Existing Parties Adequately Represent Marino’s
           Interests.

     Finally, Marino hardly disputes that the RNC adequately

represents his interests.

     Because Marino does not allege collusion between existing parties

or that the RNC is not diligently litigating this case, Marino can show

inadequate representation only if his purported interests and the RNC’s

“diverge sufficiently” such that the RNC cannot “devote proper attention”

to Marino’s interests. Brody By & Through Sugzdinis v. Spang, 957 F.2d

1108, 1123 (3d Cir. 1992). That is not the case.

     The RNC intervened below based on its “obvious interest in

advancing the overall electoral prospects of Republican candidates in

Pennsylvania, and in winning elections in the Commonwealth.” ECF No.

30 at 12 (RNC brief in support of intervention). The motion for a stay

filed in this court includes a declaration from the Executive Director of

the Republican Party of Pennsylvania professing a specific interest in

Marino’s victory. RNC Stay Mot. ADD., Alleman Decl. ¶ 37-38.

     Marino    notes   that   he      alone   is   interested   “in   receiving

compensation” as Supervisor, Marino Br. at 15, but why Marino wants to

reverse his defeat is irrelevant to the analysis. Whether the RNC cares

                                         10
          Case: 23-3166   Document: 35   Page: 12   Date Filed: 12/12/2023




about Marino’s compensation, it will litigate this case in precisely the

same way, because it too wants to reverse his defeat. If the election could

be flipped to Marino, he would get paid as Supervisor.

      Marino even employs the same counsel as the RNC for this

litigation. Inadequacy of representation “can hardly be claimed [where]

the same attorney[s] represents both the original [party] and the

proposed intervenor[].” Carroll v. Am. Fed’n of Musicians of U. S. &

Canada, 33 F.R.D. 353, 353 (S.D.N.Y. 1963).6 Indeed, Marino and the

RNC filed a single stay motion arguing a stay is needed to reverse the

election outcome.

II.   The Motion for a Stay Should Be Denied.

      A stay pending appeal should be entered only when, weighing the

applicant’s likelihood of success on the merits, their likelihood of

irreparable injury, and the public interest, there is a strong basis for




      6 The use of the same counsel as an existing party may be
determinative of adequate representation or, instead, “a strong factor
pointing to adequate representation.” Steinberg v. Shearson Hayden
Stone, Inc., 598 F. Supp. 273, 281 (D. Del. 1984). Either way, Marino’s
use of the same counsel further establishes that his interests are
adequately represented.
                                          11
       Case: 23-3166   Document: 35   Page: 13   Date Filed: 12/12/2023




entering relief. In re Citizens Bank, N.A., 15 F.4th 607, 616 (3d Cir. 2021).

No factor here counsels for staying the district court’s order.

     A.    The RNC Has No Interest that would Justify Staying
           the District Court’s Order.

     First, the RNC insists a stay is needed to exclude six ballots counted

for Marino’s Supervisor race, RNC Stay Mot. at 9-10, 11-12, but staying

the order will not stop those ballots from being counted, supra at 8-9.

They have already been counted and both the RNC and Marino failed to

timely challenge that decision, or seek any other relief, supra at 4-7.

     Any interest the RNC might have had in staying the district court’s

order is now moot, just as the losing candidate’s interest in appealing this

Court’s order in Migliori that certain ballots be counted in a 2021 election

became moot after the election was certified. See Ritter, 143 S. Ct. 297

(vacating Migliori under the Munsingwear doctrine); see also Pet. for

Writ of Certiorari at 15, Ritter v. Migliori, No. 22-30 (U.S. July 7, 2022)

(arguing appeal became moot after certification).

     The RNC’s stay motion is almost indistinguishable in substance

and posture to one filed after this Court’s decision in Migliori. Compare

Emergency Application for Stay, Ritter v. Migliori, No. 21A772 (U.S. May

27, 2022) with RNC Stay Mot. The notable difference is that a stay of

                                        12
       Case: 23-3166   Document: 35   Page: 14   Date Filed: 12/12/2023




Migliori, unlike a stay here, would have prevented ballots from being

counted. The U.S. Supreme Court, however, denied the request to stay

Migliori. See Ritter v. Migliori, 142 S. Ct. 1824 (2022). There is no reason

the RNC’s motion should now be granted.

     Second, the district court’s order will not fracture Pennsylvania

election procedure. Contra RNC Stay Mot. at 10, 11, 12. Counties must

follow federal law. In Ball v. Chapman, the Pennsylvania Supreme Court

issued an unexplained order right before the 2022 General Election that

counties must “refrain from counting any absentee and mail-in ballots

received for the November 8, 2022 general election that are contained in

undated or incorrectly dated outer envelopes.” 284 A.3d 1189 (Pa. 2022).

The Court added that it “is evenly divided on the issue of whether failing

to count such ballots violates 52 U.S.C. § 10101(a)(2)(B).” Id.

     While the RNC concludes that the Pennsylvania Supreme Court

adopted its view of § 10101(a)(2)(B), RNC Stay Mot. at 27, the Court’s

majority explicitly stated that, “the Court having divided evenly on the

question of the federal materiality provision, we issued no order on that

basis.” Ball, 289 A.3d at 28.




                                       13
       Case: 23-3166   Document: 35   Page: 15   Date Filed: 12/12/2023




     There is no conflict between a decision explicitly silent on the

application of federal law and a federal court’s interpretation of federal

law. Indeed, while the Department has not conducted a comprehensive

survey, at least six counties that were dismissed by the district court but

had not yet certified their 2023 election by the district court’s decision

counted ballots returned without a properly dated envelope declaration.

See Ex. 1, Ramachandran Decl. ¶ 8.

     Third, the RNC asserts that allowing the district court’s order to

take effect for either the 2023 General Election, or even for a 2024

election, will be chaotic, undermine confidence in elections, and require

it to divert resources. RNC Stay Mot. At 9, 10-11, 12. They do not explain

how counting ballots with inconsequential errors could have these

results, or why a stay is needed now to address harms they claim will

occur in the next election. And the same parties filed an action in the

Pennsylvania Supreme Court barely three weeks before the 2022 General

Election asking that court to modify rules regarding what mail ballots

are counted. See RNC Petition, Ball v. Chapman, No. 102 MM 2022 (Pa.

Oct. 16, 2022).




                                       14
       Case: 23-3166   Document: 35   Page: 16   Date Filed: 12/12/2023




     When the RNC initiated that action, almost 300,000 voters had

already returned their mail ballot, see Ex. 1, Ramachandran Decl. ¶ 3,

and those voters had been repeatedly told by courts that mail ballots

would be counted even if the voter neglected to properly date their

declaration, see Migliori, 36 F.4th 153; Chapman v. Berks Cnty. Bd. of

Elections, No. 355 MD 2022, 2022 WL 4100998 (Pa. Cmwlth. Ct. Aug. 19,

2022); McCormick v. Chapman, No. 286 MD 2022, 2022 WL 2900112 (Pa.

Cmwlth. Ct. June 2, 2022). And when the Pennsylvania Supreme Court

issued an order eight days before the 2022 General Election that changed

what ballots would count for that election, Ball, 284 A.3d 1189, more than

960,000 voters had already returned a mail ballot, Ex. 1, Ramachandran

Decl. ¶ 3.

     Fourth, the RNC believes a stay is needed because counting ballots

returned by qualified electors may change the outcome of future

elections. RNC Stay Mot. at 10-11, 12. But counting timely ballots from

qualified electors does not change the outcome; it is the outcome.

     Similarly, the RNC urges the Court to consider not the injury to

individuals’ whose votes are cancelled, but the injury inflicted upon

individuals when other peoples’ votes are counted. RNC Stay Mot. at 11.


                                       15
       Case: 23-3166    Document: 35   Page: 17   Date Filed: 12/12/2023




Courts—including this one—have rightfully rejected that such an injury

exists. Bognet v. Sec’y Commonwealth of Pa., 980 F.3d 336, 356-60 (3d

Cir. 2020), vacated as moot by Bognet v. Degraffenreid, 141 S. Ct. 2508

(2021); Wood v. Raffensperger, 981 F.3d 1307, 1314-15 (11th Cir. 2020);

Toth v. Chapman, No. 22-208, 2022 WL 821175, at *7 (M.D. Pa. Mar. 16,

2022) (three-judge court).

      Fifth, the RNC maintains that a stay is needed to avoid harm to

Pennsylvania. RNC Stay Mot. at 12. Pennsylvania believes in “free and

equal” elections, and it has no interest in disenfranchising qualified

voters. Pa. Const. art. I, § 5.

      B.    The RNC is Not Likely to Prevail on the Merits.

      Federal law forbids state actors from “deny[ing] the right of any

individual to vote in any election because of an error or omission on any

record or paper relating to any application, registration, or other act

requisite to voting, if such error or omission is not material in

determining whether such individual is qualified under State law to vote

in such election.” 52 U.S.C. § 10101(a)(2)(B). Rejecting ballots because a

voter neglected to write a date on the declaration submitted with the

ballot denies the right to vote for an immaterial error, because the date


                                        16
       Case: 23-3166   Document: 35   Page: 18   Date Filed: 12/12/2023




on a return-envelope declaration serves no purpose in Pennsylvania’s

elections.7

      Indeed, the RNC has conceded that the date serves no purpose in

determining a voter’s eligibility. ECF No. 347 at 62-63 (summary

judgment opinion); Ball, 289 A.3d at 24 & n. 139.8 The district court, this

Court, and others, also have recognized that the date has no election

function. ECF No. 347 at 67-69 (summary judgment opinion); see also




      7 Until 1968, a declaration date confirmed that a ballot had been

completed on time, a function it stopped serving when the Election Code
was amended to make 8 p.m. on Election Day the deadline to complete
and return a mail ballot. 25 P.S. §§ 3146.6(a), 3146.8(g)(1)(ii), 3150.16(a).
A ballot returned on time necessarily was completed on time, and county
boards track when ballots are returned by date stamping envelopes and
scanning return envelopes’ barcodes into a statewide registration system.
ECF No. 276 ¶ 12 (plaintiffs’ statement of fact); ECF No. 305 ¶ 12 (RNC
response to plaintiffs’ statement of fact).
      8 Despite its concession, the RNC cites a 2022 criminal complaint

that furnishes no support for the date’s utility in Pennsylvania elections.
RNC Stay Mot. at 22. In 2022, a woman returned her deceased mother’s
ballot and dated the declaration 12 days after her mother’s death. See
ECF No. 273-12 (criminal complaint). But because of her death, the
mother had been removed from the voting rolls three days before the
county received the ballot. Id. When the county scanned the ballot, the
county flagged it for rejection. ECF No. 299 ¶ 48 (Secretary’s statement
of fact). As the relevant county commissioner testified, the date had no
bearing on the decision to reject the ballot. ECF No. 347 at 67 n.39
(summary judgment opinion)


                                        17
       Case: 23-3166   Document: 35   Page: 19    Date Filed: 12/12/2023




Migliori, 36 F.4th at 164; In re Canvass of Absentee and Mail-in Ballot,

241 A.3d 1058, 1077 (Pa. 2020) (opinion announcing judgment)

(explaining that the date is “unnecessary and, indeed, superfluous.”).

     Consistent with these findings, this Court already has ruled that

§ 10101(a)(2)(B) prohibits counties from rejecting a mail ballot merely

because it was returned without the voter’s handwritten date on the

return-envelope declaration. Migliori, 36 F.4th 153.          Still, the RNC

encourages this Court to jettison its earlier conclusion and instead rule

that § 10101(a)(2)(B) does not apply here because its application is frozen

to the moment an individual attempts to register. Nothing in the statute’s

text supports doing so.

     First, § 10101(a)(2)(B) applies to errors made on any record

“relating to any application, registration, or other act requisite to voting.”

Dating the declaration returned with a mail ballot currently is a

necessary predicate for a ballot to be canvassed and counted. Ball, 289

A.3d at 20-23. So, writing a date is an “act requisite to voting.”

     The RNC strangely insists that unless “other act requisite to

voting,” refers “only to voter registration,” RNC Stay Mot. at 16,




                                        18
       Case: 23-3166   Document: 35   Page: 20   Date Filed: 12/12/2023




“registration” is superfluous. The reverse is true: reading “other act” as

redundant of “registration” renders statutory text superfluous.

     Congress’s repeated use of “any” in § 10101(a)(2)(B) confirms that

the statute protects against more than just immaterial errors that

prevent registration. When “read naturally, the word ‘any’ has an

expansive meaning.” Ali v. Federal Bureau of Prisons, 552 U.S. 214, 219

(2008). Here, the phrase “on any record or paper” requires reading the

statute as encompassing documents other than registration documents.

The phrase “relating to any application, registration, or other act

requisite to voting” dictates that an immaterial error may not justify

denying the right to vote beyond the moment of registration.

     The result is the same assuming the ejusdem generis canon applies.

That canon does not instruct that general terms in a list share the same

meaning as specific terms used in that list. Contra RNC Stay Mot. at 16.

Rather, the canon assumes that a general term covers something distinct

from specific terms and ensures commonality between the reach of the

specific and general terms. See Ali, 552 U.S. at 223. Here, completing the

declaration that must be returned with a ballot is akin to registering

because each requires submitting a document to the voter’s county board


                                       19
          Case: 23-3166   Document: 35   Page: 21   Date Filed: 12/12/2023




of elections swearing that the individual is qualified to vote. Compare 25

Pa.C.S. § 1327 (registration) with 25 P.S. §§ 3146.4, 3150.14(b)

(declaration).9

      Second, the RNC argues that the Court should construe the phrase

“if such error or omission is not material in determining whether such

individual is qualified under State law to vote in such election,” to mean

“when determining” because “in” sometimes means “when.” RNC Stay

Mot. at 18. That argument ignores the structure of § 10101(a)(2)(B)’s

text.10

      Section 10101(a)(2)(B) first directs state actors not to “deny the

right of any individual to vote in any election because of an error or

omission on any record or paper relating to any application, registration,



      9 The RNC cites the Fifth Circuit’s decision in Vote.Org v. Callanen,

39 F.4th 297 (5th Cir. 2022) multiple times, claiming that denying a stay
would create a circuit split. RNC Stay Mot. at 27. It bases this conclusion
on a line from a footnote characterizing their preferred construction of
§ 10101(a)(2)(B) as “plausible.” 39 F.4th at 305 n.6. And they fail to note
that the decision was preliminary, as the Fifth Circuit has yet to issue a
decision on the merits. See generally, Vote.Org v. Callanen, No. 22-50536
(5th Cir.).
      10  Assuming § 10101(a)(2)(B) applies only when determining
someone’s eligibility to vote, it certainly applies here. The declaration is
a voter’s attestation that they are qualified to vote in the election. 25 P.S.
§§ 3146.4, 3150.14(b).
                                          20
       Case: 23-3166    Document: 35    Page: 22    Date Filed: 12/12/2023




or other act requisite to voting.” The statute then qualifies that direction

with a clause that defines which errors or omissions are encompassed:

“[I]f such error or omission is not material in determining whether such

individual is qualified under State law to vote in such election.”

     Because “material in determining” defines the relationship between

the error and a voter’s qualification such that the error cannot be used to

deny the right to vote, a voter cannot be denied the right to vote only for

failing to provide (or correctly provide) information that does not bear on

their qualifications to vote. This is precisely how the Eleventh Circuit has

interpreted the statute, explaining that §10101(a)(2)(B) requires asking

“whether, accepting the error as true and correct, the information

contained in the error is material to determining the eligibility of the

applicant.” Florida State Conference of NAACP v. Browning, 522 F.3d

1153, 1175 (11th Cir. 2008).

     Two     striking     differences     between      § 10101(a)(2)(A)      and

§ 10101(a)(2)(B) confirm this interpretation. See Environmental Defense

v. Duke Energy Corp., 549 U.S. 561, 574 (2007) (explaining that

presumption that similar words have similar meaning “readily yields

whenever there is such variation in the connection in which the words


                                         21
       Case: 23-3166   Document: 35   Page: 23    Date Filed: 12/12/2023




are used as reasonably to warrant the conclusion that they were

employed in different parts of the act with different intent)”

     Unlike in § 10101(a)(2)(B), Congress used “in determining whether

any individual is qualified” to introduce § 10101(a)(2)(A). The natural

reading of using that phrase to introduce that subparagraph is that

establishes the scope of the subparagraph’s application to the process of

determining—or “when determining”—an individual’s qualification.

Additionally, § 10101(a)(2)(A) uses “in determining whether any

individual is qualified under State law or laws to vote in any election.”

The use of “any” communicates a concern with determining if a voter is

qualified to vote generally in elections—the process of voter registration.

But § 10101(a)(2)(B) uses “if such error or omission is not material in

determining whether such individual is qualified under State law to vote

in such election.” The use of “such” signals concern with determining a

voter’s qualifications for a specific election. Migliori, 36 F.4th at 163.

That is not the function of voter registration.

     Third, the RNC’s argument that someone is “den[ied] the

right … to vote” under § 10101(a)(2)(B) only if not allowed to register to

vote, RNC Stay Mot. at 20-21, points everywhere but the statute’s text.


                                       22
       Case: 23-3166   Document: 35   Page: 24   Date Filed: 12/12/2023




But “[o]nly the written word is the law.” Bostock v. Clayton Cnty., 140 S.

Ct. 1731, 1737 (2020).

     Congress incorporated into § 10101(a) the definition of “vote” found

in § 10101(e). See 52 U.S.C. § 10101(a)(3). That definition is “all action

necessary to make a vote effective including, but not limited to,

registration or other action required by State law prerequisite to voting,

casting a ballot, and having such ballot counted and included in the

appropriate totals of votes cast with respect to candidates for public

office.” Id. § 10101(e). Through that definition, Congress instructed

“courts to look not only for individuals being stripped of their ability to

exercise the right to vote generally, but for individuals who are denied

the right to have their ballots counted and included in the tallies for an

individual election.” Ball, 289 A.3d at 25 (Wecht, J.).

     Faithfully applying the statutory text means that even “mandatory

ballot-casting rules” are subject to review under § 10101(a)(2)(B). Contra

RNC Stay Mot. at 20. In fact, § 10101(a)(2)(B) operates only when there

is non-compliance with some obligatory voting rule that results in a ballot

not being counted (or registration being denied) and would never be




                                       23
       Case: 23-3166   Document: 35   Page: 25     Date Filed: 12/12/2023




violated if non-compliance with a mandatory rule did not implicate the

statute. Ball, 289 A.3d at 25 (Wecht, J.).

     Instead of squaring its position with this text, the RNC quickly

concludes that the statute deals with only registration and hurries on.

See RNC Stay Mot. at 26.

     Fourth, while nothing about Congress’s purpose in enacting § 10101

permits interpreting the statute based on something other than its text,

contra RNC Stay App. at 16-17, it is the Secretary’s interpretation that

comports with congressional purpose.

     Congress passed § 10101 “to counteract state and local government

tactics of using, among other things, burdensome registration

requirements to disenfranchise African–Americans” because some states

historically made trivial demands for information that “served no

purpose other than as a means of inducing voter-generated errors that

could be used to justify rejecting applicants.” NAACP, 522 F.3d at 1173.

Section   10101(a)(2)(B) is a     prudent        remedy   for   a history of

disenfranchising voters through demands for immaterial information at

registration because a statute limited to registration could easily be

circumvented by shifting the same demands to any later time. Indeed,


                                       24
       Case: 23-3166   Document: 35   Page: 26   Date Filed: 12/12/2023




“Congress in combating specific evils might choose a broader remedy.” Id.

at 1175.

     Fifth, the litany of harms to election administration that the RNC

maintains will follow from the district court’s decision, RNC Stay Mot. at

23-24, is divorced from fact and law. Signing a Pennsylvania return-

envelope declaration is “material” because the signature affirms the

“statement of the elector’s qualifications.” 25 P.S. §§ 3146.4, 3150.14. An

overvote is not an error “relating to any application, registration, or other

act requisite to voting,” but instead the failure to register a vote in a

particular contest. And election officials’ obligation to maintain certain

records does not implicate 52 U.S.C. § 10101(a)(2)(B).

                             CONCLUSION

     For these reasons, the applications to intervene and for a stay

pending appeal should be denied.




                                        25
     Case: 23-3166   Document: 35   Page: 27   Date Filed: 12/12/2023




December 12, 2023                      Respectfully submitted,


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                                     26
 Case: 23-3166   Document: 35      Page: 28   Date Filed: 12/12/2023




                       CERTIFICATES

I, Jacob B. Boyer, certify that:

1.   I am a member of the bar of this Court in good standing;

2.   Malwarebytes Premium was run on this file and no virus

     was detected;

3.   The text of this response is identical to the text in paper

     copies that will be filed with the Court; and

4.   This response contains 5,057 words and therefore complies

     with Federal Rule of Appellate Procedure 27(d)(2). In

     making this certificate, I have relied on the word count of

     the word-processing system used to prepare the brief.



December 12, 2023                     /s/ Jacob B. Boyer
                                      Jacob B. Boyer
                                      Counsel for Secretary of the
                                      Commonwealth Al Schmidt
      Case: 23-3166    Document: 35   Page: 29   Date Filed: 12/12/2023




                      CERTIFICATE OF SERVICE

     I, Jacob B. Boyer, hereby certify that a copy of this response has

been served on all counsel of record using the Court’s CM/ECF system.



December 12, 2023                      /s/ Jacob B. Boyer
                                       Jacob B. Boyer
                                       Counsel for Secretary of the
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Case: 23-3166   Document: 35   Page: 30   Date Filed: 12/12/2023




                      Exhibit
       Case: 23-3166   Document: 35   Page: 31     Date Filed: 12/12/2023




                UNITED STATES COURT OF APPEALS
                     FOR THE THIRD CIRCUIT


PENNSYLVANIA STATE
CONFERENCE OF THE NAACP, et al.,

                 Plaintiffs-Appellees,
                                                 No. 22-3166
           v.

AL SCHMIDT, in his official capacity as
Secretary of the Commonwealth, et al.,

                 Defendants-Appellees,

REPUBLICAN NATIONAL
COMMITTEE, et al.,

                 Intervenors-Appellants.



          DECLARATION OF SINDHU RAMACHANDRAN

     I, Sindhu Ramachandran, declare and affirm under the penalties

of perjury of the laws of the United States of America as follows:

     1.    I am employed by the Pennsylvania Department of State

(the “Department”) as Chief, Division of Election Security and

Technology in the Bureau of Elections. I have been employed by the

Department since April 2017. As part of my duties, I coordinate and

assist with the administration of the information contained within the
       Case: 23-3166   Document: 35   Page: 32   Date Filed: 12/12/2023




Statewide Uniform Registry of Electors (“SURE”) database for the

Department. As such, I am familiar with the information that is

contained within the SURE system and also manage the team

responsible for overseeing and maintaining that information.

     2.    I submit this Declaration in support of the Secretary of the

Commonwealth’s Response in this matter. Given my role and

experience at the Department, I am personally knowledgeable about the

matters referenced in this Declaration and the business records of the

Department of State. I have also consulted with colleagues about

certain matters referenced in this Declaration. If called as a witness, I

could and would testify competently to the matters set forth below.

     3.    With respect to the 2022 General Election, as of October 17,

2022, the total number of absentee and mail-in ballots recorded as

returned in SURE by counties was approximately 296,366.1 As of

November 1, 2022, the total number of absentee and mail-in ballots

recorded as returned in SURE was approximately 963,934.1 As of the

8:00 p.m. deadline for submission of absentee and mail-in ballots for the

     1 Number gathered from the totals posted on the Department’s

website on the morning of Oct. 18, 2022, and the morning of Nov. 2,
2022.

                                      2
       Case: 23-3166     Document: 35   Page: 33   Date Filed: 12/12/2023




General Election on November 8, 2022, the total number of absentee

and mail-in ballots recorded as returned in SURE was approximately

1,224,403. 2

      4.       At the time of the 2022 General Election, there was no

coding in the SURE system for counties to classify ballots that were

cancelled as a result of being contained in return envelopes that were

undated or incorrectly dated. That coding was added on January 27,

2023. Therefore, after this time, the Department had the ability to

track such numbers of cancelled ballots for those reasons to the extent

counties properly classified such rejected ballots.

      5.       With respect to the 2023 Municipal Primary, the total

number of absentee and mail-in ballots returned by voters was 613,995.

Of those, 3,476 were recorded in the SURE system as being cancelled as

a result of a missing date on the return envelope containing the

containing the voter declaration. 1,442 were recorded in the SURE

system as being cancelled due to an incorrect date as determined by the




      2 Number gathered from the totals posted on the Department’s

website at 9 p.m. on Nov. 8, 2022.

                                        3
       Case: 23-3166   Document: 35   Page: 34   Date Filed: 12/12/2023




counties. Because not all counties properly code all ballots that are

rejected, the total number of ballots in these categories is likely higher.

     6.    With respect to the 2023 Municipal Election, the total

number of absentee and mail-in ballots returned by voters was 853,433.

To date, 1,844 were recorded in the SURE system as being cancelled as

a result of a missing date on the return envelope containing the voter

declaration, and 752 were recorded in the SURE system to date as

being cancelled due to an incorrect date as determined by the counties.

These numbers are preliminary, as some counties continue to update

information from the 2023 Municipal Election.

     7.    Based on names provided by Montgomery County, I have

determined using information in the SURE system the ages of the six

voters whose ballots were counted for the Towamencin Township

Supervisor race after the trial court’s decision in this case. Those six

voters were ages 83, 78, 77, 74, 29, and 25 on Election Day.

     8.    Based on information provided by colleagues, I understand

that the following counties were among those that chose to count

undated/wrongly dated ballots: Adams, Beaver, Chester, Delaware,

Lebanon, and Luzerne.


                                      4
Case: 23-3166   Document: 35   Page: 35   Date Filed: 12/12/2023
